        Case 2:18-bk-19952-NB                     Doc 15 Filed 09/10/18 Entered 09/10/18 23:14:52                                               Desc
                                                   Main Document     Page 1 of 4



Attorney or Party Name, Address, Telephone & FAX FOR COURT USE ONLY
Nos., State Bar No. & Email Address
Randolph R. Ramirez,
RANDOLPH ROGER RAMIREZ PC
1613 Chelsea Road N0186
San Marino, CA 91108
Te l ; 6 2 6 - 7 6 5 - 5 4 11
Fax: 626.784.0480




Pi Debtor(s) appearing without an attorney
P Attorney for Debtor(s)
                                                   U N I T E D S TAT E S B A N K R U P T C Y C O U RT
                                CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION




Debtor(s) provides the following declaration(s) as to whether income was received from an employer with 160 days of the
Debtor(s) filing this bankruptcy case (Petition Date), as required by 11 U.S.C. § 521(a)(1)(B)(iv): [
                                                                                                                                      I
Declaration of Debtor 1


1. IS I am Debtor 1 in this case, and I declare under penalty of perjury that the following informatron is t ue and correct:
                                                                                                                                      I




            During the 60-day period before the Petition Date (Check only ONE box belovA:
            M I was paid by an employer. Attached are copies of all statements of eamings, pay stubs, or other proof of
                  employment income I received from my employer during this 60-day period, [if the Debtor's social security
                  number or bank account is on a pay stub or other proof of income, the Debtor must cross out redact) the
                  numberis) before filing this declaration.)

            □ I was not paid by an employer because I was either self-employed only, or not employed.



Date: 09/08/2018                Rose R. Ramirez
                                           Printed name of Debtor 1                                                           !)ebtoti|1


           This form is mandatory, it has been approved for use in the United States Bankruptcy Court for the Centrai District of CaiB     irnia.


December                             2015                        Paget                        F1002-1                          .EM         >.INCOME.DEC
     Case 2:18-bk-19952-NB                     Doc 15 Filed 09/10/18 Entered 09/10/18 23:14:52                                           Desc
                                                Main Document     Page 2 of 4


Declaration of Debtor 2 (Joint Debtort (if applicablel


2. □ I am Debtor 2 in this case, and I declare under penalty of peijury that the following information is ^ rue and correct:

        During the 60-day period before the Petition Date (Check only ONE box below):
        □ I was paid by an employer. Attached are copies of all statements of earnings, pay stubs, o other proof of
             employment income I received from my employer during this 60 day period. {If the Debtor's i ocialsecurity
             number or bank account is on a pay stub or other proof of income, the Debtor must cross out (redact) the
             number(s) before filing this declaration.)

        □ I was not paid by an employer because I was either self-employed only, or not employed.




                                       Printed name of Debtor 2                                             Signature of Deblibr 2




        This foim is mandatory. It has lieen approved tor use in the United States Bankruptcy Court for the Central District of Calimmia.

December 2015                                                                                                     F 1 0 0 2 - 1 . E M P. I N C O M E . D E C
Case 2:18-bk-19952-NB   Doc 15 Filed 09/10/18 Entered 09/10/18 23:14:52   Desc
                         Main Document     Page 3 of 4
Case 2:18-bk-19952-NB   Doc 15 Filed 09/10/18 Entered 09/10/18 23:14:52   Desc
                         Main Document     Page 4 of 4
